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                                 EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-21551-CIV-ALTONAGA/Louis


    In re:

    FARM-RAISED SALMON AND
    SALMON PRODUCTS ANTITRUST LITIGATION
    _______________________________________________/


                  SETTLEMENT AGREEMENT BETWEEN ALL DEFENDANTS
                       AND THE DIRECT PURCHASER PLAINTIFFS

             THIS SETTLEMENT AGREEMENT (“Settlement Agreement”), dated May 25, 2022

    (“Execution Date”), is made and entered into by and among Defendants Mowi ASA (f/k/a Marine

    Harvest ASA); Mowi USA, LLC (f/k/a Marine Harvest USA, LLC); Mowi Canada West, Inc.

    (f/k/a Marine Harvest Canada, Inc.); Mowi Ducktrap, LLC (an assumed name of Ducktrap River

    of Maine LLC); Grieg Seafood ASA; Grieg Seafood BC Ltd.; Grieg Seafood North America Inc.

    (f/k/a Ocean Quality North America Inc.); Grieg Seafood USA, Inc. (f/k/a Ocean Quality USA

    Inc.); Grieg Seafood Premium Brands, Inc. (f/k/a Ocean Quality Premium Brands, Inc.); Sjór AS

    sued as Ocean Quality AS; SalMar ASA; Lerøy Seafood AS; Lerøy Seafood USA Inc.; Cermaq

    Group AS; Cermaq US LLC; Cermaq Canada Ltd.; and Cermaq Norway AS; and Direct Purchaser

    Plaintiffs Euclid Fish Company; Euro USA Inc.; Schneider’s Fish and Sea Food Corp.; and The

    Fishing Line LLC (collectively, the “Direct Purchaser Plaintiffs”), both individually and as

    representatives of the Settlement Class defined herein.

             WHEREAS, in the instant class action In Re Farm-Raised Salmon and Salmon Products

    Antitrust Litigation, No. 19-21551-CIV-ALTONAGA/Louis, currently pending before the

    Honorable Cecilia Altonaga in the United States District Court for the Southern District of Florida,

    Direct Purchaser Plaintiffs have alleged that Defendants violated Sections 1 and 3 of the Sherman

    Antitrust Act (15 U.S.C. §§ 1, 3);



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            WHEREAS, Defendants deny each and all of the Claims and allegations of wrongdoing in

    the Litigation and all charges of wrongdoing or liability against them arising out of the conduct,

    statements, acts, or omissions alleged, or that could have been alleged, in the Litigation and have

    asserted a number of defenses to Direct Purchaser Plaintiffs’ Claims;

            WHEREAS, Class Counsel, who represent the Direct Purchaser Plaintiffs, have concluded,

    after an investigation into the facts and the law, and after carefully considering the circumstances

    of Claims made by Direct Purchaser Plaintiffs on behalf of themselves and the Settlement Class,

    and the possible legal and factual defenses thereto, that it is in the best interests of Direct Purchaser

    Plaintiffs and the Settlement Class to enter into this Settlement Agreement with Defendants to

    avoid the uncertainties and risks of further litigation, and that the settlement set forth herein is fair,

    reasonable, adequate and in the best interests of the Settlement Class;

            WHEREAS, Defendants, while denying that they have any liability for the Claims and

    believing that they have strong defenses to the Claims alleged, recognize that continued litigation

    of the Claims is likely to be expensive, time consuming, and distracting, have thus agreed to enter

    into this Settlement Agreement to avoid the further expense, inconvenience, and distraction of

    burdensome and protracted litigation, and thereby put to rest with finality this controversy by

    obtaining complete dismissal of the Litigation and a release by the Settlement Class Members of

    all Released Claims; and

            WHEREAS, Class Counsel and Defendants have engaged in arm’s-length settlement

    negotiations, assisted by a neutral mediator (United States Magistrate Judge Edward Infante

    (Ret.)), and have reached this Settlement Agreement, which, subject to the approval of the Court,

    embodies all of the terms and conditions of the settlement between Direct Purchaser Plaintiffs,

    both for themselves individually and on behalf of the Settlement Class and each member thereof,

    and Defendants.

            NOW, THEREFORE, in consideration of the promises, covenants, agreements, and

    releases set forth herein and for other good and valuable consideration, and incorporating the above

    recitals herein, subject to the approval of the Court, it is agreed by the undersigned, on behalf of

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    the Defendants and the Direct Purchaser Plaintiffs, on behalf of themselves and the Settlement

    Class Members, that all existing and potential Claims that were raised or could have been raised

    in this Litigation arising from the conduct alleged in the Complaint as defined herein, be settled,

    compromised, and dismissed with prejudice as to the Defendants and the other Released Parties,

    and, except as hereinafter provided, without costs as to Direct Purchaser Plaintiffs, the Settlement

    Class Members, or Defendants, on the following terms and conditions.

           1.      General Definitions. The terms below and elsewhere in this Settlement Agreement

    with initial capital letters shall have the meanings ascribed to them for purposes of this Settlement

    Agreement.

                a. “Affiliates” with respect to a company, means all other entities which, whether

                   directly or indirectly, (1) are controlled by that company, (2) are under common

                   control with that company, or (3) control that company. The term “control” as used

                   in this definition means the power to individually or jointly with another entity

                   direct or cause the direction of the management and the policies of an entity,

                   whether through the ownership of a majority of the outstanding voting rights or

                   otherwise.

                b. “Claims” shall mean any and all actions, claims, rights, demands, assertions,

                   allegations, causes of action, controversies, proceedings, losses, damages, injuries,

                   attorneys’ fees, costs, expenses, debts, liabilities, judgments, or remedies, whether

                   equitable or legal.

                c. “Class Counsel” means Hausfeld LLP and Podhurst Orseck P.A.

                d. “Complaint” means the Direct Purchaser Plaintiffs’ Third Consolidated Amended

                   Class Action Complaint filed in the Litigation on October 28, 2021 [ECF No. 447].

                e. “Court” means the United States District Court for the Southern District of Florida.

                f. “Defendants” refers to: Mowi ASA (f/k/a Marine Harvest ASA); Mowi USA, LLC

                   (f/k/a Marine Harvest USA, LLC); Mowi Canada West, Inc. (f/k/a Marine Harvest

                   Canada, Inc.); Mowi Ducktrap, LLC (an assumed name of Ducktrap River of Maine

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                LLC) (collectively, “Mowi”); Grieg Seafood ASA; Grieg Seafood BC Ltd.; Grieg

                Seafood North America Inc. (f/k/a Ocean Quality North America Inc.); Grieg

                Seafood USA, Inc. (f/k/a Ocean Quality USA Inc.); and Grieg Seafood Premium

                Brands, Inc. (f/k/a Ocean Quality Premium Brands, Inc.) (collectively, “Grieg”);

                Sjór AS sued as Ocean Quality AS (“Sjór”); SalMar ASA (“SalMar”); Lerøy

                Seafood AS; Lerøy Seafood USA Inc. (collectively, “Lerøy”); and Cermaq Group

                AS, Cermaq US LLC, Cermaq Canada Ltd., and Cermaq Norway AS (collectively,

                “Cermaq”).

             g. “Defense Counsel” means the law firms of Mayer Brown LLP, Toth Funes, P.A.,

                Freshfields Bruckhaus Deringer US LLP, Bowman and Brooke, LLP, Cleary

                Gottlieb Steen & Hamilton LLP, Akerman LLP, Skadden, Arps, Slate, Meagher &

                Flom LLP, Homer Bonner Jacobs Ortiz, P.A., Quinn Emanuel Urquhart & Sullivan,

                LLP, Leon Cosgrove, LLP, and Robins Kaplan LLP.

             h. “Direct Purchaser Plaintiffs” means the named class representatives Euclid Fish

                Company; Euro USA Inc.; Schneider’s Fish and Sea Food Corp.; and The Fishing

                Line LLC.

             i. “Effective Date” means the earliest date on which all of the events and conditions

                specified in Paragraph 15 herein have occurred or have been met.

             j. “Escrow Account” means the account or accounts meeting the requirements of

                Treas. Reg. § 1.468B-1(c)(3) to be established by Class Counsel for receipt of the

                Settlement Amount.

             k. “Execution Date” means the date on which all Parties have signed this Settlement

                Agreement.

             l. “Final Approval” means an order and Judgment by the Court that finally approves

                this Settlement Agreement and the settlement pursuant to Federal Rule of Civil

                Procedure 23 and dismisses the Litigation with prejudice, which is to be consistent



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                in all material respects to the proposed order shared with Defendants pursuant to

                Paragraph 9.

             m. “Judgment” means the final order of judgment described in Paragraph 9 herein.

             n. “Litigation” means the litigation captioned In Re Farm-Raised Salmon and Salmon

                Products Antitrust Litigation, No. 19-21551-CIV-ALTONAGA/Louis, currently

                pending before the Honorable Cecilia Altonaga in the United States District Court

                for the Southern District of Florida and includes all related direct purchaser actions

                filed in or transferred to the United States District Court for the Southern District

                of Florida and consolidated thereunder and all such actions that may be so

                consolidated in the future.

             o. “Parties” means Direct Purchaser Plaintiffs, Settlement Class Members, and

                Defendants.

             p. “Person(s)” means an individual or an entity.

             q. “Preliminary Approval” means an order by the Court that is in all material respects

                consistent with the proposed order shared with Defendants pursuant to Paragraph

                5, and which preliminarily approves the settlement set forth in this Settlement

                Agreement, certifies the proposed Settlement Class for purposes of settlement only,

                and directs notice thereof to the Settlement Class pursuant to Federal Rule of Civil

                Procedure 23.

             r. “Released Claims” shall mean all manner of Claims, demands, actions, suits, causes

                of action, whether class, individual, or otherwise in nature, damages whenever

                incurred, liabilities of any nature whatsoever, including without limitation costs,

                penalties, and attorneys’ fees, known or unknown, suspected or unsuspected,

                asserted or unasserted, in law or equity, that any of the Releasing Parties, or any

                one of them, whether directly, representatively, derivatively, or in any other

                capacity, ever had, now have, or hereafter can, shall, or may have, related to or

                arising from conduct alleged in the Complaint or which could have been asserted

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                in the Litigation against the Released Parties, or any one of them, prior to the

                Effective Date, on account of, arising out of, resulting from, or related to in any

                respect the purchase, sale, pricing, discounting, manufacturing, offering, or

                distributing of farm-raised Atlantic salmon or products derived therefrom in the

                United States, including, without limitation, Claims arising under federal or state

                antitrust, unfair competition, unfair practices, price discrimination, unitary pricing,

                trade practice, or civil conspiracy law, including without limitation the Sherman

                Antitrust Act, 15 U.S.C. § 1 et seq. However, the Released Claims do not include

                the following Claims: (a) Claims based on negligence, personal injury, bailment,

                failure to deliver lost goods, damaged or delayed goods, product defects, breach of

                product warranty, or breach of contract; (b) Claims based upon a Releasing Party’s

                purchase(s) of farm-raised Atlantic salmon from the Released Parties (or any one

                of them) occurring outside the United States or its territories for use or consumption

                outside of the United States or its territories; or (c) Claims brought under any state

                law for indirect purchases of farm-raised Atlantic Salmon, including, but not

                limited to, the Claims brought by the indirect purchasers in Wood Mountain Fish

                LLC., et. al. v. Mowi ASA, et. al., 19-cv-22128 (S.D. Fla.), and any related indirect

                purchaser cases consolidated thereunder. This reservation of Claims does not

                impair or diminish the right of the Released Parties to assert any and all defenses to

                such Claims.

             s. “Released Parties” means, jointly and severally, individually and collectively:

                Defendants, including their respective predecessors, successors, present, past and

                future officers, directors, executives, employees, managing directors, agents,

                contractors, attorneys, legal or other representatives, parents (direct and indirect,

                including holding companies), divisions, subsidiaries, and Affiliates.

             t. “Releasing Parties” means, jointly and severally, and individually and collectively:

                Direct Purchaser Plaintiffs and all Settlement Class Members, their predecessors,

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                   successors, present and former parents, subsidiaries, divisions, Affiliates, and

                   departments, each of their respective past and present officers, directors,

                   employees, agents, attorneys, servants, and representatives, and the predecessors,

                   successors, heirs, executors, administrators, and assigns of each of the foregoing,

                   regardless of whether a Settlement Class Member submits any claim for payment

                   or receives any such payment pursuant to any claims process that may be

                   established and approved by the Court.

              u. “Settlement Administrator” means the firm retained to disseminate the Settlement

                   Class notice and to administer the payment of Settlement Funds to the Settlement

                   Class, subject to approval of the Court.

              v. “Settlement Amount” means the sum of USD $85,000,000.00 (eighty-five million

                   United States Dollars).

              w. “Settlement Class” has the meaning given to it in Paragraph 6.

              x. “Settlement Class Member(s)” means each Person that is a member of the

                   Settlement Class and has not timely and validly excluded himself, herself, or itself

                   from the Settlement Class in accordance with the procedures established by the

                   Court.

              y. “Settlement Class Period” means the period between April 10, 2013 until the date

                   of Preliminary Approval.

              z.   “Settlement Fund” means the dollar amount of the Settlement Amount plus any

                   interest, income, or proceeds earned thereon after payment thereof by Defendants

                   into the Escrow Account.

       2. Settlement Consideration.

              a. The Settlement Amount represents an all-in cash settlement amount, inclusive of

                   class recovery amounts, any named plaintiff incentive awards, fees (attorneys’ fees

                   and other fees), and costs (including class notice costs). The Settlement Amount

                   represents the full amount to be paid by Defendants pursuant to this Agreement,

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                 and Defendants shall not be required to make any other payments for any other

                 reason pursuant to this Agreement.

             b. Within ten (10) calendar days of the Court’s grant of Preliminary Approval,

                 Defendants shall pay or cause to be paid the Settlement Amount into the Escrow

                 Account. In the event that the foregoing date falls on a Saturday, Sunday, or U.S.

                 or Norwegian bank holiday, the payment will be made on the next business day.

                 The payment shall be made by wire transfer in immediately available funds.

             c. Subject to the Court’s approval, settlement funds may be disbursed only upon the

                 Judgment becoming final and non-appealable, in accordance with the Court’s Final

                 Approval Order, except that Class Counsel may pay from the Settlement Fund,

                 without further approval from Defendants or the Court, the costs and expenses

                 reasonably and actually incurred up to the sum of USD $150,000 in connection

                 with providing notice and the administration of the settlement after Preliminary

                 Approval. Additional sums, to the extent required for notice and administration,

                 shall not be withdrawn from the Escrow Account without prior approval of the

                 Court, on good cause shown.

             d. After all costs (including notice costs), attorneys’ fees, and any other expenses have

                 been paid from the Settlement Fund, remaining funds shall be distributed to

                 Settlement Class Members in accordance with this Settlement Agreement. If,

                 following further distribution, the remaining funds become de minimis in Class

                 Counsel’s reasonable judgment, such residual funds shall be made the subject of an

                 application to the Court by Direct Purchaser Plaintiffs for cy pres distribution.

       3. The Parties’ Efforts to Effectuate This Settlement Agreement. Class Counsel agree to

          recommend approval of the settlement by the Court and by the Settlement Class Members.

          Class Counsel, Direct Purchaser Plaintiffs, and Defense Counsel agree to cooperate in good

          faith and use their best efforts to carry out the terms of this Settlement Agreement and to



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         obtain the Court’s Preliminary Approval and Final Approval of this Settlement Agreement

         and the settlement contemplated hereby.

      4. Litigation Standstill. The Parties, through their respective counsel, shall cease all litigation

         activities against each other related to the Litigation unless and until (a) the Court denies

         Preliminary Approval or Final Approval of this Settlement Agreement, or (b) the

         Settlement Agreement is terminated in accordance with Paragraph 19.

      5. Motion for Preliminary Approval. Within five (5) days of the Execution Date, Direct

         Purchaser Plaintiffs will move the Court for preliminary approval of this settlement and a

         stay of all proceedings in the Litigation pending final resolution of the settlement

         (“Preliminary Approval Motion”). No later than three (3) business days prior to filing,

         Class Counsel shall provide the Preliminary Approval Motion and all supporting materials,

         including a proposed order, to Defendants for their review. To the extent that Defendants

         object to any aspect of the Preliminary Approval Motion, they shall communicate such

         objection to Class Counsel, and the Parties shall meet and confer to resolve any such

         objection. In the event that the Parties are unable to reach agreement as to the Preliminary

         Approval Motion and/or the supporting materials, each Party reserves its right to make

         such additional filings as it may deem necessary, subject to the limitations of this

         Settlement Agreement, in further support of the Preliminary Approval Motion.

      6. Certification of a Settlement Class. As part of the Preliminary Approval Motion, the Direct

         Purchaser Plaintiffs shall seek, and Defendants shall take no position with respect to, (a)

         appointment of Class Counsel as settlement class counsel for purposes of this Settlement,

         and (b) certification of the following “Settlement Class” for settlement purposes only:

                 All persons and entities in the United States, their territories, and the District
                 of Columbia who purchased farm-raised Atlantic salmon or products
                 derived therefrom directly from one or more Defendants from April 10,
                 2013 until the date of Preliminary Approval. Excluded from the Settlement
                 Class are the Court and its personnel and any Defendants and their parent,
                 subsidiary, or affiliated companies.

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      7. Settlement Class Notices. Within five (5) days of the date of Preliminary Approval,

         Defendants shall notify Class Counsel of any new direct purchasers falling into the above-

         defined Settlement Class since the last date from which Defendants produced transactional

         data to Class Counsel, so that notice of this settlement can be provided to these potential

         members of the Settlement Class. After Preliminary Approval, and subject to approval by

         the Court of the means for dissemination:

            a. To the extent reasonably practicable, individual notice of this settlement shall be

                mailed or otherwise directly sent by the Settlement Administrator, at the direction

                of Class Counsel, to potential members of the Settlement Class, in conformance

                with a notice plan to be approved by the Court. The Settlement Administrator shall

                be selected by Class Counsel for approval by the Court.

            b. Neither the Settlement Class, Class Counsel, Defendants, nor Defense Counsel

                shall have any responsibility, financial obligation, or liability for any fees, costs, or

                expenses related to providing notice to the Settlement Class or obtaining approval

                of the settlement or administering the settlement. Such fees, costs, or expenses shall

                be paid solely from the Settlement Fund and in accordance with this Settlement

                Agreement, subject to any necessary Court approval, to pay the costs for notice and

                administration in conjunction with Preliminary Approval and Final Approval of

                this Settlement Agreement.

            c. Any costs of notice and administration that Class Counsel are permitted to

                withdraw from the Settlement Fund, either pursuant to this Settlement Agreement

                or order of the Court, shall be nonrefundable if, for any reason, the Settlement

                Agreement is terminated according to its terms or is not finally approved by the

                Court.

      8. Requests for Exclusion. Any Person who wishes to seek exclusion from the Settlement

         Class must timely submit a written request for exclusion as provided in this Paragraph

         (“Request for Exclusion”). Any Person who timely submits a Request for Exclusion (an

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         “Opt Out”) shall be excluded from the Settlement Class, shall have no rights with respect

         to the settlement or this Settlement Agreement, and shall receive no benefits as provided

         in this Settlement Agreement.

            a. Unless otherwise ordered by the Court, a Request for Exclusion must be in writing,

                which shall: (a) state the name, address, and telephone number of the Person or

                entity seeking exclusion, and in the case of entities, the name and telephone number

                of the appropriate contact person; (b) contain a signed statement that “I/we hereby

                request that I/we be excluded from the proposed Settlement Class in the In re:

                Farm-Raised Salmon and Salmon Products Antitrust Litigation, No. 19-21551-cv-

                ALTONAGA/Louis (S.D. Fla.)”; (c) provide documents sufficient to prove

                membership in the Settlement Class; and (d) be signed by such Person requesting

                the exclusion or an authorized representative, as well as proof of authorization to

                submit the request for exclusion if submitted by an authorized representative. The

                name of the Person(s) seeking exclusion shall be as specific as possible, including

                any “formerly known as” names, “doing business as” names, etc. Only the specific

                Person(s) identified may be excluded from the settlement. A Request for Exclusion

                that does not include all of the foregoing information, that does not contain a proper

                signature, that is sent to an address other than the one designated in the notice to

                Settlement Class Members, or that is not sent within the time specified in the notice,

                shall be invalid, and the Person serving such an invalid request shall remain a

                Settlement Class Member and shall be bound by this Settlement Agreement, if

                approved.

            b. Class Counsel shall promptly forward to Defense Counsel complete copies of all

                requests for exclusion as they are received. To the extent a claims administrator is

                retained to administer any distribution of the Settlement Fund, Class Counsel are

                responsible for promptly providing such claims administrator with copies of any

                requests for exclusion received pursuant to this Paragraph. Further, Class Counsel

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                shall, within five (5) business days after the Court-ordered deadline for timely

                requests for exclusion from the Settlement Class, cause to be provided to Defense

                Counsel a list of Opt-Outs who have timely excluded themselves from the

                Settlement Class. With respect to any potential member of the Settlement Class

                who validly requests exclusion from the Settlement Class, Defendants reserve all

                of their respective legal rights and defenses, including but not limited to any

                defenses relating to whether the excluded individual or entity is a direct purchaser

                of farm-raised Atlantic salmon and/or has standing to bring any claim against the

                Defendants or any of them.

      9. Motion for Final Approval and Entry of Final Judgment. If the Court grants Preliminary
         Approval, then the Direct Purchaser Plaintiffs, through Class Counsel, and in accordance

         with the schedule set forth in the Court’s Preliminary Approval, shall submit to the Court

         a separate motion for final approval of this settlement (“Final Approval Motion”). No later

         than five (5) business days prior to filing the Final Approval Motion, Class Counsel shall

         provide the Final Approval Motion and all supporting materials to Defendants for their

         review. To the extent that Defendants object to any aspect of the Final Approval Motion,

         they shall communicate such objection to Class Counsel and the parties shall meet and

         confer to resolve any such objection. In the event that the Parties are unable to reach

         agreement as to the contents of the Final Approval Motion and/or the supporting materials,

         each Party reserves its right to make such additional filings as it may deem necessary,

         subject to the limitations of this Settlement Agreement, in further support of the Final

         Approval Motion. The Final Approval Motion shall seek entry of an order and final

         Judgment:

             a. certifying as a settlement class, pursuant to Rule 23 of the Federal Rules of Civil

                Procedure and solely for purposes of this settlement the Settlement Class described

                in Paragraph 6;



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            b. fully and finally approving the settlement contemplated by this Settlement

                Agreement and its terms as being a fair, reasonable, and adequate settlement for the

                Settlement Class within the meaning of Federal Rule of Civil Procedure 23, and

                directing the implementation, performance, and consummation of this Settlement

                Agreement pursuant to its terms and conditions;

            c. determining that the Settlement Class notice constituted the best notice practicable

                under the circumstances of the settlement and the fairness hearing, and constituted

                due and sufficient notice for all other purposes to all Persons entitled to receive

                notice;

            d. dismissing the Litigation with prejudice as to the Defendants; such dismissal shall

                not affect, in any way, the right of the Direct Purchaser Plaintiffs and Settlement

                Class Members to pursue claims, if any, outside the scope of the Released Claims;

            e. discharging and releasing the Released Parties from all Released Claims;

            f. reserving continuing and exclusive jurisdiction over the Settlement Agreement for

                all purposes; and

            g. determining pursuant to Fed. R. Civ. P. 54(b) that there is no just reason for delay

                and reciting that the judgment of dismissal of the Litigation as to all Defendants

                shall be final and appealable.

      10. Objections to the Settlement. Any Person who has not requested exclusion from the

         Settlement Class and who objects to the settlement set forth in this Settlement Agreement

         may appear in person or through counsel, at that Person’s own expense, at the fairness

         hearing to present any evidence or argument that the Court deems proper and relevant.

         However, no such Person shall be heard, and no papers, briefs, pleadings, or other

         documents submitted by any such Person shall be received and considered by the Court,

         unless such Person properly submits a written objection that includes: (i) a notice of

         intention to appear; (ii) proof of membership in the Settlement Class, including

         documentation evidencing Direct purchases of salmon and/or salmon products from one or

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         more Defendants during the Settlement Class Period; and (iii) the specific grounds for the

         objection and any reasons why such Person desires to appear and be heard, as well as all

         documents or writings that such Person desires the Court to consider. Such a written

         objection must be mailed to Class Counsel at the addresses provided in the Settlement Class

         notice and postmarked no later than thirty (30) days prior to the date set for the fairness

         hearing. As soon as practicable, Class Counsel shall cause all written objections to be filed

         with the Court. Any Person that fails to object in the manner prescribed herein shall be

         deemed to have waived his, her, or its objections and will forever be barred from making

         any such objections in the Litigation, unless otherwise excused for good cause shown, as

         determined by the Court.

      11. Escrow Account.
            a. The Escrow Account shall be administered by Class Counsel for the Direct

                Purchaser Plaintiffs and Settlement Class under the Court’s continuing supervision

                and control pursuant to the escrow agreement between Class Counsel and their

                chosen escrow agent.

            b. The funds deposited in the Escrow Account may be invested in instruments backed

                by the full faith and credit of the United States Government or fully insured by the

                United States Government or an agency thereof, or money market funds invested

                substantially in such instruments; provided, however, that such portions of the

                Settlement Fund as may reasonably be needed to pay current expenses associated

                with providing notice to the Settlement Class pursuant to Paragraph 2.c. hereof, and

                any other amounts approved by the Court following Final Approval, may be

                deposited in a federally insured bank account. Any interest or other income or

                proceeds earned on any of the foregoing shall be reinvested as they mature in

                similar instruments at their then-current market rates. Any interest, income, or

                proceeds earned on any of the foregoing shall become part of the Settlement Fund.

                Defendants shall have no responsibility for, or liability in connection with, the

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                 Settlement Fund, including, without limitation, the investment, administration,

                 maintenance, or distribution thereof.

             c. All funds held in the Escrow Account shall be deemed and considered to be in

                 custodia legis of the Court and shall remain subject to the jurisdiction of the Court,

                 until such time as such funds shall be distributed pursuant to this Settlement

                 Agreement and/or further order(s) of the Court.

      12. Qualified Settlement Fund. The Parties agree to treat the Settlement Fund as being at all

         times a Qualified Settlement Fund within the meaning of Treas. Reg. § 1.468B-1, and to

         that end, the Parties shall cooperate with each other and shall not take a position in any

         filing or before any tax authority that is inconsistent with such treatment. In addition, Class

         Counsel shall timely make such elections as necessary or advisable to carry out the

         provisions of this Paragraph, including the relation-back election (as defined in Treas. Reg.

         § 1.468B-1(j)) back to the earliest permitted date. Such elections shall be made in

         compliance with the procedures and requirements contained in such regulations. It shall be

         the responsibility of Class Counsel to timely and properly prepare and deliver the necessary

         documentation for signature by all necessary parties, and thereafter to cause the appropriate

         filing to occur. All provisions of this Settlement Agreement shall be interpreted in a

         manner that is consistent with the Settlement Funds being a “Qualified Settlement Fund”

         within the meaning of Treas. Reg. § 1.4688-1. For the purpose of § 468B of the Internal

         Revenue Code of 1986, as amended, and the regulations promulgated thereunder, the

         “administrator” shall be Class Counsel. Class Counsel or other Person designated by Class

         Counsel, shall timely and properly file all information and other tax returns necessary or

         advisable with respect to the Settlement Fund (including without limitation the returns

         described in Treas. Reg. § 1.468B-2(k), (1)). Such returns shall reflect that all taxes

         (including any estimated taxes, interest, or penalties) on the income earned by the

         Settlement Fund shall be paid out of the Settlement Fund, whether or not Final Approval

         has occurred. The escrow agent shall be obligated (notwithstanding anything herein to the

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         contrary) to withhold from distribution to any claimants authorized by the Court any funds

         necessary to pay such amounts including the establishment of adequate reserves for any

         Taxes and Tax Expenses (as well as any amounts that may be required to be withheld under

         Treas. Reg. § l .468B-2(1)(2)). In the event federal or state income tax liability is finally

         assessed against and paid by any Defendant as a result of any income earned on the funds

         in the Escrow Account, such Defendant shall be entitled to reimbursement of such payment

         from the funds in the Escrow Account after approval of the Court and whether or not Final

         Approval has occurred.      Defendants will use reasonable efforts to resist any such

         assessment or payment. Except as set forth in this Paragraph, neither Defendants nor any

         Released Party shall have any responsibility to make any tax filings related to the

         Settlement Fund or to pay any taxes with respect thereto.

      13. Distribution of Settlement Fund to Settlement Class. Settlement Class Members shall be
         entitled to look solely to the Settlement Fund for settlement and satisfaction against the

         Released Parties for the Released Claims and shall not be entitled to any other payment or

         relief from the Released Parties. Except as provided by order of the Court, no member of

         the Settlement Class shall have any interest in the Settlement Fund or any portion thereof.

         Direct Purchaser Plaintiffs, members of the Settlement Class, and their counsel will be

         reimbursed and indemnified solely out of the Settlement Fund for all expenses including,

         but not limited to, attorneys’ fees and expenses and the costs of notice and administration

         of the Settlement Agreement to potential members of the Settlement Class. Defendants and

         the other Released Parties shall not be liable for any costs, fees, or expenses of any of the

         Direct Purchaser Plaintiffs’ and Class Counsel’s attorneys, experts, advisors, or

         representatives, but all such costs and expenses as approved by the Court shall be paid out

         of the Settlement Fund.

      14. Fee Awards, Costs and Expenses, and Service Payments to Direct Purchaser Plaintiffs.

             a. Class Counsel may apply to the Court for a fee award, plus expenses and costs

                actually incurred, to be paid from the proceeds of the Settlement Fund. Defendants

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                will take no position as to Class Counsel’s request for attorneys’ fees, which will

                not exceed 30% of the Settlement Fund.

            b. Attorneys’ fees and expenses awarded by the Court shall be payable from the

                Settlement Fund upon award in accordance with the Court’s Final Approval Order.

            c. Neither Defendants nor any other of the Released Parties shall have any

                responsibility for, or interest in, or liability whatsoever with respect to allocation

                among Class Counsel, and/or any other person who may assert some claim thereto,

                of any fee and expense award that the Court may make in the Litigation.

            d. There shall be no payment of any fee and expense award, or any other awards the

                Court may make, out of the Settlement Fund until the Effective Date has occurred.

            e. Current law in the Eleventh Circuit prohibits incentive awards to class

                representatives in class action settlements, see Johnson v. NPAS Sols., LLC, 975

                F.3d 1244 (11th Cir. 2020), but an en banc review of the Johnson case is pending.

                If the Johnson decision is vacated or the Eleventh Circuit or Supreme Court rules

                that incentive awards are permissible, Class Counsel may petition the Court for

                incentive awards for the named Plaintiffs. Any incentive awards made by the Court

                shall be paid solely and exclusively from the Settlement Fund. Alternatively, Class

                Counsel reserves the right to seek repayment of actually incurred costs and

                expenses for the named Plaintiffs from the Settlement Fund.

            f. Within ten (10) days after the Effective Date, the escrow agent shall pay any

                approved attorneys’ fees, expenses, class representative service awards (if

                permissible) and/or repayment of the class representatives’ costs, time, and

                expenses via wire transfer from the Settlement Fund as directed by Class Counsel

                in accordance with and attaching the Court’s order approving such payments.

      15. Effective Date of the Settlement. This Settlement Agreement shall become final and

         effective on the earliest date on which all of the following events and conditions have

         occurred or have been met (“Effective Date”): (a) this settlement has been approved in all

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         respects by the Court as required by Rule 23(e) of the Federal Rules of Civil Procedure;

         (b) the Court has entered the Judgment; and (c) the time for appeal or to seek permission

         to appeal from the Court’s approval of the Settlement Agreement and entry of the Judgment

         has expired or, if appealed, approval of this Settlement Agreement and the Judgment has

         been affirmed in its entirety by the court of last resort to which such appeal has been taken

         and such affirmance has become no longer subject to further appeal or review. Neither the

         provisions of Federal Rule of Civil Procedure 60 nor the All Writs Act, 28 U.S.C. § 1651,

         shall be taken into account in determining the above-stated times.

      16. Release.
             a. Upon the Effective Date, and in addition to the effect of any Judgment entered in

                 accordance with this Settlement Agreement, Releasing Parties shall be deemed to

                 have released and forever discharged the Released Parties from the Released

                 Claims and the Litigation will be dismissed with prejudice as to Defendants.

             b. Upon the Effective Date, the Releasing Parties covenant and agree that they, and

                 each of them, will forever refrain from instituting, maintaining, prosecuting, or

                 continuing to maintain or prosecute any suit or action, or collecting from, seeking

                 to recover from, or proceeding against the Released Parties on behalf of themselves

                 individually or collectively in connection with any of the Released Claims. Direct

                 Purchaser Plaintiffs and Class Counsel acknowledge that Defendants consider it to

                 be a material term of this Settlement Agreement that all Releasing Parties will be

                 bound by the provisions of this Paragraph 16.

             c. During the period after the expiration of the deadline for submitting a request for

                 exclusion pursuant to Paragraph 8, as determined by the Court, and prior to the

                 Effective Date, all Releasing Parties who have not submitted a valid request to be

                 excluded from the Settlement Class shall be preliminarily enjoined and barred from

                 asserting any Released Claims against the Released Parties.



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      17. Further Release. Each Releasing Party further expressly agrees that, upon the Effective

         Date, it will waive and release with respect to the Released Claims that such Releasing

         Party has released pursuant to Paragraph 16 hereof any and all provisions, rights, and

         benefits conferred either (a) by § 1542 of the California Civil Code, which reads:

                A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
                CREDITOR OR RELEASING PARTY DOES NOT KNOW OR
                SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
                EXECUTING THE RELEASE AND THAT, IF KNOWN BY HIM OR
                HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER
                SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.

         (b) by any law of any state or territory of the United States, or principle of common law,

         which is similar, comparable, or equivalent to § 1542 of the California Civil Code, or (c)

         any law or principle of law of any jurisdiction that would limit or restrict the effect or scope

         of the provisions of the release set forth in Paragraph 16 hereof. Each Releasing Party may

         hereafter discover facts other than or different from those that it knows or believes to be

         true with respect to the subject matter of the Released Claims that such Releasing Party has

         released pursuant to Paragraph 16 hereof, but each such individual or entity hereby

         expressly agrees that, upon the Effective Date, it shall have waived and fully, finally, and

         forever settled and released any known or unknown, suspected or unsuspected, asserted or

         unasserted, contingent or non-contingent claim with respect to the Released Claims that

         such Releasing Party has released pursuant to Paragraph 16 hereof, whether or not

         concealed or hidden, without regard to the subsequent discovery or existence of such

         different or additional facts. The release of unknown, unanticipated, and unsuspected

         losses or claims is contractual, and not a mere recital.

      18. No Admission. Whether or not this Settlement Agreement becomes final or is terminated
         pursuant its terms, the Parties expressly agree that this Settlement Agreement and its

         contents, including without limitation its exhibits and any and all statements, negotiations,

         documents, and discussions associated with it, shall not be deemed or construed to be an

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         admission or evidence of any violation of any statute or law or of any liability or

         wrongdoing or of the truth of any of the claims or allegations contained in the complaints

         in the Litigation or any other pleading or filing, and evidence thereof shall not be

         discoverable or used, directly or indirectly, in any way, whether in the Litigation or in any

         other action or proceeding. This Settlement Agreement shall not be construed as an

         admission of liability or wrongdoing, or used as evidence of liability, for any purpose in

         any legal proceeding, claim, regulatory proceeding, or government investigation.

      19. Option to Terminate. Defendants, in their sole collective discretion, may terminate the
         Settlement Agreement if the percentage of qualifying commerce of the Settlement Class

         Members who timely opt out of the settlement equals or exceeds the percentage specified

         in the separate document executed concurrently with the Settlement Agreement by Defense

         Counsel and Class Counsel. The number or percentage will be confidential except to the

         Court, which upon request will be provided a copy of the document for in camera review.

         The Parties will not, directly or indirectly, encourage or cause any Person to opt out of the

         Settlement Class.

      20. Class Action Fairness Act. Within ten (10) days of filing of this Settlement Agreement in

         Court with the above-mentioned motion for Preliminary Approval, Defendants, at their

         sole expense, shall submit all materials required to be sent to appropriate federal and state

         officials pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1715, and shall

         confirm to Class Counsel that such notices have been sent.

      21. Binding Effect. This Settlement Agreement constitutes a binding, enforceable agreement

         as to the terms contained herein. This Settlement Agreement shall be binding upon, and

         inure to the benefit of, the successors, assigns, and heirs of the Parties, Settlement Class,

         the Releasing Parties, and the Released Parties. Without limiting the generality of the

         foregoing, upon Final Approval, each and every covenant and agreement herein by the

         Direct Purchaser Plaintiffs shall be binding upon all members and potential members of



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         the Settlement Class and Releasing Parties who have not validly excluded themselves from

         the Settlement Class.

      22. Sole Remedy. This Settlement Agreement shall provide the sole and exclusive remedy for

         any and all Released Claims against any Released Party, and upon the Effective Date, the

         Releasing Parties shall be forever barred from initiating, asserting, maintaining, or

         prosecuting any and all Released Claims against any Released Party.

      23. Costs. Except as otherwise provided herein, Direct Purchaser Plaintiffs and Defendants

         shall each be responsible for bearing their own costs and fees incurred in this Litigation.

      24. Effect of Disapproval or Rescission. If the settlement contemplated by this Settlement
         Agreement does not receive final Court approval and the Judgment is not entered, if such

         final approval and/or Judgment is modified or set aside on appeal, if the Settlement Class

         is not certified for settlement purposes, or if this Settlement Agreement is terminated or

         voided for any reason, then all amounts paid by Defendants into the Settlement Fund (other

         than costs that may already have reasonably been incurred or expended in accordance with

         this Settlement Agreement, such as notice and administration) shall be returned to

         Defendants from the Escrow Account along with any interest, income, or proceeds

         consolidated therewith, within ten (10) business days after such order becomes final and

         non-appealable.

      25. Notices. All notices under this Settlement Agreement shall be in writing. Each such notice

         shall be given either by: (a) hand delivery; (b) registered or certified mail, return receipt

         requested, postage pre-paid; or (c) Federal Express or similar overnight courier, and, in the

         case of either (a), (b), or (c), shall be addressed:

                 If directed to direct purchaser plaintiffs, the Settlement Class, or any Settlement

                 Class Member, to:

                 Peter Prieto
                 PODHURST ORSECK, P.A.
                 SunTrust International Center
                 One S.E. 3rd Ave, Suite 2300

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                                      34



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                 For Sjór

                 Ryan W. Marth
                 ROBINS KAPLAN LLP
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                 Minneapolis, MN 55402
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         or such other address as the Parties may designate, from time to time, by giving notice to

         all parties hereto in the manner described in this Paragraph. Providing a copy by email

         shall only be in addition to, and not a substitute for, the formal notice mechanisms provided

         for in (a), (b), or (c) of this Paragraph.

      26. Express Authority. Each counsel signing this Settlement Agreement on behalf of a Party
         or Parties has full and express authority to enter into all of the terms reflected herein on

         behalf of each and every one of the clients for which counsel is signing.

      27. Board Approval. All Defendants expressly represent that they have obtained all required

         approvals from their Boards of Directors for this Settlement Agreement.

      28. Confidentiality of Settlement Negotiations. Class Counsel and Defense Counsel shall keep

         strictly confidential and not disclose to any third party any non-public information

         regarding the parties’ negotiation of this settlement and/or this Settlement Agreement

         except for disclosure made with the prior consent of the other Parties. For the sake of

         clarity, information contained within this Settlement Agreement shall be considered public

         after the Settlement Agreement has been filed with the Court in connection with the

         Preliminary Approval Motion.

      29. Voluntary Settlement. The Parties agree that this Settlement Agreement was negotiated in

         good faith by the Parties and reflects a settlement that was reached voluntarily after

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         consultation with competent counsel and the participation of a neutral mediator, and no

         Party has entered this Settlement Agreement as the result of any coercion or duress. The

         Settlement Class Members and Class Counsel, or any of them, may hereafter discover facts

         other than or different from those that it knows or believes to be true with respect to the

         subject matter of the Litigation, but the subsequent discovery or existence of such different

         or additional facts shall have no bearing on the validity of this Settlement Agreement once

         executed and shall not serve as a basis for any Party to challenge or otherwise seek to

         rescind, terminate, or cancel the settlement.

      30. Modification/Waiver. This Settlement Agreement may be modified or amended only by a
         writing executed by the Parties, subject (if after preliminary or final approval by any court)

         to approval by the Court. Amendments and modifications may be made without notice to

         the Settlement Class unless notice is required by law or by the Court. The waiver by any

         Party of any breach of this Settlement Agreement shall not be deemed or construed as a

         waiver of any other breach, whether prior, subsequent, or contemporaneous, of this

         Settlement Agreement.

      31. No Drafter. None of the Parties hereto shall be considered to be the drafter of this

         Settlement Agreement or any of its provisions hereof for the purpose of any statute, case

         law, or rule of interpretation or construction that would or might cause any provision to be

         construed against the drafters of this Settlement Agreement.

      32. No Third-Party Beneficiaries. No provision of this Settlement Agreement shall provide any

         rights to, or be enforceable by, any person or entity that is not a Released Party, Direct

         Purchaser Plaintiff, member of the Settlement Class, or Class Counsel.

      33. Choice of Law and Dispute Resolution. All terms of this Settlement Agreement shall be

         governed by, and interpreted according to, federal substantive and procedural law. Any

         disputes concerning matters contained in this Settlement Agreement, if they cannot be

         resolved by negotiation and agreement, shall be submitted, in the first instance, for



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         mediation before Judge Edward Infante (Ret.) in his capacity as mediator, and if not then

         resolved, shall be submitted to the Court.

      34. Consent to Jurisdiction. The Parties and any Releasing Parties hereby irrevocably submit

         to the exclusive jurisdiction of the Court for any suit, action, proceeding, or dispute arising

         out of or relating to this Settlement Agreement or the applicability of this Settlement

         Agreement.

      35. Execution in Counterparts. This Settlement Agreement may be executed in counterparts,

         each of which shall be deemed an original, but all of which together shall constitute a single

         agreement. Facsimile or Portable Document Format signatures shall be considered as valid

         signatures for purposes of execution of this Settlement Agreement, but original signature

         pages shall thereafter be collated for filing of this Settlement Agreement with the Court.

      36. Integrated Agreement. This Settlement Agreement comprises the entire, complete, and
         integrated agreement between the Parties, and supersedes all prior and contemporaneous

         undertakings, communications, representations, understandings, negotiations, and

         discussions, either oral or written, between the Parties. The Parties agree that this

         Settlement Agreement may be modified only by a written instrument signed by the Parties

         and that no Party will assert any Claim against another based on any alleged agreement

         affecting or relating to the terms of this Settlement Agreement not in writing and signed by

         the Parties.



                             [Remainder of page intentionally left blank]




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      IN   WITNESS         WHEREOF,      the   Parties,   individually    or through     their   duly   authorized

      representatives,    enter into this Settlement Agreement     on the date first above written.

      Dated: Ma~         ~ 2022


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                                                                  John Gravante, III, FBN 617113
                                                                  Matthew P. Weinshall, FBN 84783
                                                                  Alissa Del Riego, FBN 99742
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     Dated: May _,        2022                                   HAUSFELD LLP


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   IN WITNESS WHEREOF, the Parties, individually or through their duly authorized

   representatives, enter into this Settlement Agreement on the date first above written.

   Dated: May __, 2022                                  PODHURST ORSECK, P.A.

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               25 2022
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                                             CLEARY GOTTLIEB STEEN
   Dated: May 25, 2022                       & HAMILTON LLP



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